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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   TEXARKANA DIVISION

  UNITED STATES OF AMERICA                         §
                                                   §
  v.                                               §                      CASE NO. 5:19-CR-25
                                                   §
  PATRICK RIDGEWAY (9)                             §

                                     ORDER ADOPTING
                             THE REPORT AND RECOMMENDATION
                          OF THE UNITED STATES MAGISTRATE JUDGE

          The above-styled matter was referred to the Honorable Caroline Craven, United States

  Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

  Procedure. Judge Craven conducted a hearing on September 14, 2021, in the form and manner

  prescribed by Federal Rule of Criminal Procedure 11 and issued a Report and Recommendation

  (document #390). Judge Craven recommended that the Court accept Defendant’s guilty plea and

  conditionally approve the plea agreement. She further recommended that the Court finally adjudge

  Defendant as guilty of Count 1 of the Information, which charges a violation of 18 U.S.C. § 4,

  misprision of a felony. The Court is of the opinion that the Report and Recommendation should

  be accepted. It is accordingly ORDERED that the Report and Recommendation of the United

  States Magistrate Judge (document #390) is ADOPTED. It is further

          ORDERED that the Defendant’s guilty plea is accepted and approved by the Court.

  Further, the plea agreement is approved by the Court, conditioned upon a review of the presentence

  report. It is finally

          ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the

  Defendant GUILTY of Count 1 of the Information in the above-numbered cause and enters a
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  JUDGMENT OF GUILTY against the Defendant as to Count 1 of the Information.


       SIGNED this 29th day of September, 2021.



                                                  ____________________________________
                                                  ROBERT W. SCHROEDER III
                                                  UNITED STATES DISTRICT JUDGE
